                                                                                   :            U
1
                                                                             JUL       8   PH   3:   20
                            UNITED STATES DIS TRICT COUR19
2                            WESTERN DISTRI( T OF TEXAS
                                                                                                      AS
3    Federal Trade Commission, and
4
                                                        CERTIFICATION OF PLNTI
     State of Ohio cx rd. Attorney General Dave         FEDERAL TRADE COMMISSION
5    Yost,                                              COUNSEL J. RONALD BROOKE,
                    Plaintiffs,                         JR., PURSUANT TO FED. R. CIV. P.
6                                                       65(B)(1) IN SUPPORT OF
     V.
                                                        PLAINTIFF'S EXPARTE MOTION
7
                                                        FOR A TEMPORARY
8
     Madera Merchant Services, LLC, dba E               RESTRAINING ORDER AND
     Check Processing and echeckprocessing.net, a       MOTION TO SEAL
9    Texas company,                                     TEMPORARILY THE DOCKET
                                                        AND ENTIRE FILE
10   B&P Enterprises, LLC, a Texas company,
11
     Bruce C. Woods, individually and as an                     (FILED UNDER SEAL)
12   owner, officer, member, and/or manager of
     Madera Merchant Services, LLC, and B&P
13   Enterprises, LLC,

14   Patricia Woods, individually and as an owner,
     manager, and/or member of Madera Merchant
15
     Services, LLC, and B&P Enterprises, LLC,
16
     and
17
     Victor Rodriguez, individually and as an
18   officer, member, and/or manager of Madera
     Merchant Services, LLC, and B&P Enterprises,
19
     LLC,
20
                    Defendants.
21           I, J. Ronald Brooke, Jr., hereby declare as follows:
22
             I am over twenty-one years   of age and am a citizen of the United States. I am one
23
     of the attorneys representing the Federal Trade Commission ("FTC") in this action
24
     against Madera Merchant Services, LLC, B&P Enterprises, LLC, (collectively the
25

26   Corporate Defendants) and Bruce Woods, Patricia Woods, and Victor Rodriguez

27   (collectively the Individual Defendants).
28                                               1
1
            I am a member in good standing of the bar    of the State of Maryland (Bar No.
2
     0202280002). My work address is Federal Trade Commission, Division of Marketing
3
     Practices, 600 Pennsylvania Avenue, N.W., Mail Stop CC-8528, Washington, D.C. 20580.
4

5    Unless indicated otherwise, I have personal knowledge of the facts stated herein and if

6    called as a witness, would competently testify thereto.
7
            I submit this certification pursuant to Rule 65(b)( 1)   of the Federal Rules of Civil
8
     Procedure, 28 U.S.C.   §   1746, in support of the FTC's Ex Parte Motion for a Temporary
9
     Restraining Order, Asset Freeze, Other Equitable Relief, an Order to Show Cause Why
10

11   Preliminary Injunction Should Not Issue, and Memorandum in Support Thereof ("TRO

12   Motion") and in support of the FTC's request that the Temporary Restraining Order
13
     ("TRO") be issued without notice to Defendants. I also submit this certification in
14
     support of the FTC's Ex Parte Motion to Temporarily Seal the Docket and Entire File,
15
     filed contemporaneously with the TRO Motion.
16

17          Pursuant to Federal Rule of Civil Procedure 65(b)(1), this Court may issue a TRO

18   without notice to Defendants if "(A) specific facts in an affidavit ... clearly show that
19
     immediate and irreparable injury, loss, or damage will result to the movant before the
20
     adverse party can be heard in opposition; and (B) the movant's attorney certifies in
21
     writing any efforts made to give notice and the reasons why it should not be required."
22

23   For the reasons discussed below, the FTC has not provided Defendants with notice of the

24   filing of this action or the TRO Motion. The interests ofjustice require that these filings
25
     be heard ex parte.
26

27

28                                             2
1
            A.      Defendant's Scheme
2
            The evidence set forth in the TRO Motion and supporting exhibits, filed
3
     concurrently herewith, demonstrates that Defendants have engaged in a multi-million
4

5    clandestine Remotely Created Payment Order ("RCPO") payment processing scheme that

6    withdraws money from consumers' accounts on behalf of third-party merchants, many of
7
     whom are perpetrators of fraud and deceptive scams. To execute their processing
8
     scheme, Defendants have opened business checking accounts under various assumed
9
     names with numerous local banks and credit unions. They often misrepresent the type of
10

11   business for which they open the account, and routinely fail to disclose that it will be

12   used to process consumer payments for third-party merchants via RCPOs. High rates of
13
     returned checks and other red flags have led many financial institutions to close accounts
14
     that Defendants used for their RCPO scheme. When that happens, Defendants open new
15
     accounts with different financial institutions. Defendants have opened such accounts at
16

17   more than 25 banks and credit unions, mostly in Texas and Wisconsin. Their scheme has

18   caused injury to consumers throughout the United States.
19
            The Defendants include a scofflaw, Bruce Woods. In 2008, co-plaintiff, the State
20
     of Ohio, sued him and the Corporate Defendants' predecessors Banctech Processors,
21
     Inc. ("Banctech") and Electronic Check Corporation      for unlawfully providing RCPO
22

23   payment services to Med Provisions, a Canadian telemarketer that had been sued by the

24   FTC for operating a bogus online pharmacy selling sham "membership packages" to
25
     elderly consumers. The Ohio court found Bruce Woods and his companies liable for
26

27

28                                             3
1
     more than $430,000 in restitution and civil penalties, and permanently enjoined them
2
     from processing RCPO payments for unlawful telemarketers.
3

4           B.      The Proposed TRO

5           The proposed TRO would: (1) immediately halt Defendants' unlawful acts and

6    practices; (2) freeze the Individual and Corporate Defendants' assets to preserve them for
7
     potential restitution to victims; (3) appoint a temporary receiver over the Corporate
8
     Defendants; (4) grant the temporary receiver immediate access to the Corporate
9
     Defendants' El Paso business premises (Bruce Woods residence) to take possession of the
10

11   Corporate Defendants' business records; (5) allow for limited expedited discovery; (6)

12   prohibit Defendants from using or selling consumer data obtained during the course of
13
     the scam; (7) provide other equitable relief; and (8) require Defendants to show cause
14
     why this Court should not issue a preliminary injunction extending such temporary relief
15
     pending an adjudication on the merits.
16

17          C.      Reasons Why Ex Pane Fi1ini is Necessary

18          There is ample evidence that defendants have the motivation and opportunity to
19
     conceal and dissipate assets and destroy important documents, as demonstrated by,
20
     among other things: (i) the egregious nature of Defendants' scheme, (ii) the Defendant'
21
     using a new company (B&P Enterprises) to perpetrate their scheme when the old one was
22

23   flagged by banks; (iii) the fact that the Defendants have continued to migrate to new

24   banks and credit unions to perpuate their operation even after numerous accounts have
25
     been closed by banks and credit unions due to the high number of returned checks and
26
     other red flags; (iv) the fact that Bruce Woods has continued to process RCPOs for
27

28
1
     unlawful telemarketers evn after being sued by the state of Ohio; and (v) prior FTC
2
     experience with analogous circumstances of defendants facing fmancial liability for
3

ru
     unlawful business practices, especially telemarketing scams, and the relative ease with

5    which critical electronic evidence can be destroyed and money dissipated.

6           Moreover, as detailed in Section III of Plaintiffs' Motion for an Ex Parte
7
     Temporary Restraining Order and Memorandum in Support Thereof ("TRO Memo"),
8
     evidence adduced during the FTC's investigation indicates that the Defendants possess
9
     consumer's sensitive information including their bank account information. There is a
10

11   substantial risk that the Defendants will destroy this evidence of harm to consumers when

12   they have notice of an FTC Action, or they may instead commoditize it for financial gain
13
     by selling it to other individuals or companies engaged in deceptive practices. Thus, to
14
     prevent either of these problematic situations, the TRO should prohibit the destruction of
15
     documents and the sale of consumers' credit card, debit card, or bank account
16

17   information.

18          D.      Relevant Precedent
19
            It has been the FTC's experience that defendants involved in deceptive acts and
20
     practices that receive notice of the filing of an action by the FTC, or of the FTC 's intent
21
     to file an action, often attempt to undermine the FTC's efforts to preserve the status quo
22

23   by immediately dissipating or concealing assets or destroying documents.

24           The following examples come from FTC actions where defendants not subject to
25
     an exparte TRO hid assets and destroyed documents, and illustrate the FTC's concern
26
     that the Defendants in this case would do the same:
27

28
1
     a. In FTC   v.   Connelly, No. 06-70 1 (C.D. Cal. 2006), the court, following
2
        notice to two of the three individual defendants, issued an ex parte
3

4       TRO with an asset freeze against a third individual defendant. After

5       receiving notice of the TRO, all three defendants withdrew a total of at

6       least $800,000, some of which was subject to the asset freeze, and
7
        most of which was never recovered.
8
     b. In FTC v. Jeremy Johnson, et al., Civ. No. 10-2203-MMD-GWF (D.
9
        Nev. Mar. 25, 2013), an individual defendant who learned about the
10

11      FTC's investigation of his company enlisted nominees to create dozens

12      of legal entities used to hold and conceal from authorities millions of
13
        dollars in assets, including assets connected to illegal online poker
14
        payment processing.
15
     c. In FTC v. Physicians Healthcare Development, Inc., No. 02-02936
16

17      (C.D. Cal. 2002), the defendants were given advance notice of a TRO

18      hearing. Prior to the hearing and entry of the TRO, the defendants
19
        removed all business records and computer equipment from the
20
        business premises, none of which were recovered.
21
     d. In FTC v. National Consumer Council, No. 04-0474 (C.D. Cal. 2004),
22

23      the court granted the FTC's exparte application for a TRO with asset

24      freeze and the appointment of a temporary receiver against all but one
25
        of the corporate defendants. One of the individual defendants then
26
        deleted key electronic files on defendants' shared network server by
27

28
1
          accessing his account through a computer under the control of the
2
          corporate defendant that was not under the receivership.
3

4    e.   In FTC    v.   E.MA. Nationwide Inc., No. 12-cv-02394 (N.D. Ohio 2012),

5         the court denied the FTC's request for an exparte TRO with a

6         corporate asset freeze. Within days, the defendants withdrew more
7
          than $152,000 from a bank account.
8
     f.   In FTC v. Transcontinental Warranty, Inc., No. 09-2927 (N.D. Ill.
9
          2009), the FTC moved for a TRO with notice to the defendants and the
10

11        court issued it, freezing defendants' assets and appointing a receiver.

12        However, when the receiver and counsel for the FTC arrived at the
13
          corporate defendants' premises pursuant to the court's order, hundreds
14
          of folders with labels indicating that they contained records of
15
          defendants' most recent transactions were found empty. In addition,
16

17        five computers, including that of the corporate defendants' CFO, were

18        missing        allegedly stolen the night before the arrival of the receiver
19
          and counsel for the FTC.
20
     g. In FTC v. Canada Inc., et al., No. 04 C 4694 (N.D. Ill. 2004),
21
          Canadian authorities executed a search warrant on the business
22

23        premises of Canadian defendants. The FTC subsequently filed its

24        complaint and its motion for a TRO with asset freeze, and provided
25
          notice to the defendants. The FTC subsequently discovered that the
26
          defendants had made several transfers totaling approximately $70,000
27

28                                  1:1
1
          after receiving notice of the FTC's action. The FTC was unable to
2
          recover the $70,000.
3
     h. In FTC v. Access Resource Services, Inc., No. 02-60226 (S.D. Fla.
4

5         2002), when an individual defendant became aware of the noticed

6         TRO hearing, he attempted to exploit the Florida homestead
7
          exemption by making a $579,600 payment to pay off the mortgage on
8
          his residence.
9
     i.   In FTC v. Thomas E. O'Day, No. 94-1108-CIV-ORL-22 (M.D. Fla.
10

11        1994), the district court denied the FTC's request for an exparte TRO

12        with asset freeze and scheduled a noticed hearing on the relief sought.
13
          Several days later, the FBI executed a search warrant on defendants'
14
          business premises as the FTC served notice of its action and the
15
          upcoming hearing. Within hours, an individual defendant withdrew
16

17        approximately $200,000 from one of his bank accounts.

18   j. In FTC v. Applied Telemedia Engineering and Management, Inc., et
19
          al., No. 91-635 (S.D. Fla. 1991), the defendants were advised,
20
          pursuant to an agreement with the FTC, that the FTC had filed its
21
          complaint and intended to seek a TRO with an asset freeze from the
22

23        court. When the FTC's agents went to the defendants' offices to serve

24        process, they observed defendants removing boxes of documents from
25
          the premises. The FTC moved for, and received, an exparte TRO the
26
          following day.
27

28                               [I]
I
            The following examples have been identified within the FTC as incidents in
2
     which an exparte order helped remedy or mitigate defendants' attempts to dissipate
3

4    assets or destroy documents:

5                  a.      In FTC v. Goldman Schwartz Inc., No. 13-cv-00106 (S.D. Tex.

6                          2013), the FTC obtained an exparte TRO with an asset freeze
7
                           against numerous corporate and individual defendants, including
8
                           the companies' owner. Within an hour of being served with the
9

10
                           TRO, but before the asset freeze had been fully implemented, the

11                         owner withdrew approximately $268,000 from a frozen corporate

12                         account. Shortly thereafter, the owner sold approximately
13
                           $160,000 in securities held in a personal trading account. The next
14
                           day, the owner's wife withdrew another $18,500 from a non-
15
                           defendant corporation's account that was subject to the asset
16

17                         freeze. Because the court had issued its asset freeze in advance of

18                         these actions, the FTC and a court-appointed monitor were able to
19
                           recover all of the money.
20
                        a. In FTC v. Group One Networks, Inc., No. 8:09-CV-0352-T-26-
21
                           MAP (M.D. Fla. Feb. 25, 2009) the court granted an FTC's ex
22

23                         parte motion for a TRO with an asset freeze, which the FTC
24                         served on barilcs known to hold accounts of defendants. After
25
                           being served with the order, one of the defendants successfully
26
                           cashed two $10,000 checks that were installment payments for an
27

28
 1
          undisclosed $50,000 loan. The FTC, however, through expedited
 2
          asset-related discovery, was able to identify the loan payments and

 4        the individual defendant subsequently deposited the $20,000 into a

 5        frozen bank account to cure any possible contempt of the asset

 6        freeze.

     b.   In FTC v. Sameer Lakhany, No. SACV 12-337 CJC (C.D. Cal.
 8
          2012), the day after the court granted the TRO, but before the FTC

10
          could effect service, the defendant's employee notified the

11        defendant of the FTC's lawsuit and receivership. The individual

12        defendant proceeded to withdraw $204,000 from corporate bank
13
          accounts in violation of the asset freeze. The defendant later
14
          stipulated to the contempt, and the majority of the withdrawn funds
15
          was recovered.
16

17   c.   In FTC v. Data Medical Capital, Inc., No. 99-1266 (C.D. Cal.

18        2009), the Commission moved for civil contempt and obtained an
19
          exparte TRO and asset freeze. When one of the defendants
20
          learned the Commission was investigating his possibly
21
          contemptuous actions, he transferred approximately $1 million to a
22

23        new personal bank account prior to the Commission's filing.

24        While the receiver appointed pursuant to the ex parte TRO traced
25
          these assets, found the new account, and returned the funds to the
26

27

28                         10
1
          receivership estate, the receivership estate was still diminished by
2
          the fees accrued by the receiver's efforts to retrieve the funds.

4    d.   In FTC v. Prime Legal Plans LLC, No. 12-cv-61 872 (S.D. Fla.

5         2012), upon hearing of the exparte TRO including an asset freeze,

6         the Defendants transferred $1.7 million in assets to a girlfriend and
7
          a mother. The bank was able to recover most of it, but
8
          approximately $200,000 was not returned.

     e.   In FTC v. Asia PacfIc Telecom, Inc. et al., No. 1 0-cv-3 168 (N.D.
10

11        Ill. 2010), the FTC obtained an exparte TRO freezing the

12        defendants' assets and prohibiting them from destroying
13
          documents. After being served with the TRO, one of the
14
          individual defendants, Hans Smit, deleted an email account used to
15
          conduct many of the illegal practices at issue in the FTC's
16

17        complaint. Smit took this step despite being served with a

18        discovery request by the FTC for documents in the account and
19
          despite multiple demands from the court-appointed receiver for
20
          access to the account. The court ultimately held Smit in contempt
21
          for deleting the account in violation of the TRO.
22

23   f.   In FTC v. Fereidoun "Fred" Khalilian, No. 10-2 1788 (S.D. Fla.

24        2010), the Commission sought and obtained an exparte TRO with
25
          an asset freeze. Before the banks in which the defendants held
26
          accounts could put in place the freeze, one of the individual
27

28                          11
 1
          defendant's employees withdrew large amounts of money from the
2
          company's bank accounts. The individual eventually returned some

4           but not all   of this money. Additionally, the individual

5         defendant, under cover of darkness, attempted to remove assets
6         located in his personal residence.

     g.   In FTC v. American Entertainment Distributors, Inc., No. 04-
 8
          22431 (S.D. Fla. 2004), the court entered an asset freeze that froze

10
          assets of both corporate and individual defendants. Within hours

11        of receiving notice of the asset freeze, one of the individual
12        defendants withdrew $39,500 from his bank. Because he violated
13
          the tenns of the asset freeze, the FTC was able to compel the
14
          individual defendant to return the money.
15

16
     h.   In FTC v. Assail Inc., No. 03-007 (W.D. Tex. 2003), the court

17        issued an exparte TRO, including an asset freeze. The lead

18        defendant nonetheless transferred $200,000 after being served with
19
          the TRO. Following contempt proceedings and a lengthy appeal,
20
          the defendant repaid the transferred funds.
21
     i.   In FTC v. Hanson Publications, Inc., No. 02-2205 (N.D. Ohio
22
23        2002), Canadian defendants transferred $105,000 from a U.S.

24        account to a Canadian account within two days of receiving service
25
          of the TRO with asset freeze. This money was later returned as a
26
          predicate to the release of attorney's fees.
27
28                          12
 1
                     j.      In FTC v.   SkyBiz.com, Inc., No.   01-396 (N.D. Okia. 2001), within
2
                             days of the service of the TRO with an asset freeze provision, one
3

4                            of the primary defendants convinced an overseas trustee to

5                            withdraw $1,000,000 from the offshore account of a foreign
6                            affiliate. Because a domestic correspondent bank had been served
7
                             with the TRO, it refused to transfer the funds. The money in the
8
                             offshore account was preserved, and ultimately used to provide
9

10
                             consumer redress.

11           In the FTC's experience, defendants may also learn about a case against them

12   from a docket monitoring service. For example, in FTC v.       Wazzu Corp.,    et al.,   SAV CV
13
     99-762 (S.D. Cal. 1999), when FTC staff arrived at defendants' business premises to
14
     serve a temporary restraining order, it learned that defendants had already learned about
15
     the action against them from a monitoring service to which their counsel subscribed. The
16

17   monitoring service would not have learned of the action at the time of filing if the file and

18   docket had been temporarily sealed.
19
             For the above reasons, as contemplated by Fed. R. Civ.     P.   65(b)(1), there is good
20
     cause to believe that immediate and irreparable damage will result to consumers,
21
     including the destruction of Defendants' records and the dissipation or concealment of
22

23   assets, if Defendants receive advance notice of the FTC's application for a TRO. Thus, it

24   is in the interests of justice that this Court grant such application without notice.
25
             For the same reasons, there is good cause to believe that immediate and
26
     irreparable harm will result to consumers if any of the Defendants receive premature
27

28                                              13
1
     notice of the filing of this action. Thus, the interests ofjustice would be served if the
2
     Court grants the Commission's Emergency Ex Parte Motion to Temporarily Seal the
3
     Docket and Entire File.
4

5           I declare under penalty   of perjury that the foregoing is true and correct.
6                   Executed on July 17, 2019 in Washington, D.C.
7

8

9

10
                                                    J.   Ro'ald Brooke, Jr.
                                                    Federal Trade Commission
11                                                  600 Pennsylvania Ave., NW
                                                    Mailstop CC-8528
12                                                  Washington, DC 20580
                                                    (202) 326-3484 /jbrookeftc.gov
13
                                                    Attorney for Plaintiff
14                                                  FEDERAL TRADE COMMISSION

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                             14
